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4    Attorney for Defendant
     KHAMLE KEOVILAY
5
6
                              IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,                   )   Case No. CR. S-09-223-TLN
10                                               )
                                 Plaintiff,      )   STIPULATION AND ORDER TO
11                                               )   CONTINUE STATUS CONFERENCE
     V.                                          )
12                                               )   Date: December 12, 2013
     KHAMLE KEOVILAY et al.                      )   Time: 9:30 a.m.
13                                               )   Judge: Hon. TROY L. NUNLEY
                                 Defendant.      )
14                                               )
                                                 )
15
16          It is hereby stipulated and agreed to by the United States of America through HEIKO P.
17
     COPPOLA, Assistant United States Attorney, and defendant, KHAMLE KEOVILAY, by and
18
     though his counsel, DENNIS S. WAKS, that the status conference set for October 31, 2013, be
19
     continued to a status conference on Thursday, December 12, 2013, at 9:30 a.m. This
20
21   continuance is being requested because defense counsel needs additional time to prepare, to

22   review discovery, and to interview witnesses. The parties have received a large amount of
23   discovery, including Title III documents.
24
            Furthermore, the parties stipulate and agree that the interest of justice served by granting
25
     this continuance outweighs the best interest of the public and the defendant in a speedy trial
26
     (18 U.S.C. §3161(h)(7)(A)). Speedy trial time is to be excluded from the date of this order
27
28   through the date of the status conference set for December 12, 2013, pursuant to 18 U.S.C. §
                                                      -1-
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     3161 (h)(7)(B)(iv) [reasonable time to prepare] (Local Code T4).
1
2    DATED: October 26, 2013                         Respectfully submitted,

3
                                                     /s/ Dennis S. Waks
4
                                                     DENNIS S. WAKS
5                                                    Attorney for Defendant
                                                     KHAMLE KEOVILAY
6
7    DATED: October 26, 2013                         BENJAMIN B. WAGNER
                                                     United States Attorney
8
9                                                    /s/ Dennis S. Waks for

10                                                   HEIKO P. COPOLLA
                                                     Assistant U.S. Attorney
11
12                                                ORDER

13      Based on the stipulation of the parties and good cause appearing, the Court hereby finds that
14   the failure to grant a continuance in this case would deny defense counsel reasonable time
15
     necessary for effective preparation, taking into account the exercise of due diligence. The Court
16
     specifically finds that the ends of justice served by the granting of such continuance outweigh the
17
     interests of the public and the defendant in a speedy trial. Based on these findings and pursuant
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     to the stipulation of the parties, the Court hereby adopts the stipulation of the parties in its
19
20   entirety as its order. Time is excluded from computation of time within which the trial of this

21   matter must be commenced beginning from the date of the stipulation through and including

22   December 12, 2013, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time for
23   defense counsel to prepare] and Local Code T4. A new status conference date is hereby set for
24
     December 12, 2013, at 9:30 a.m.
25
26   DATED: October 28, 2013

27                                                           Troy L. Nunley
                                                             United States District Judge
28
                                                       -2-
